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 1                                                                                  Hon. Richard A. Jones
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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8
     UNITED STATES OF AMERICA,
 9                                                                  No. CR09-282RAJ
                                   Plaintiff,
10
                 v.                                                 ORDER DENYING MOTION FOR
11                                                                  REDUCTION OF SENTENCE
     JONATHAN JOSE ESPINOZA,
12
                                   Defendant.
13

14                                              I. INTRODUCTION
15           This matter comes before the court on Defendant Jonathan Jose Espinoza’s
16   pro se motion requesting a reduction in his sentence under 18 U.S.C. § 3582(c)(2),
17   based on Amendments 782 and 788 to the United States Sentencing Guidelines
18   (“USSG”) (Dkt. #279). Plaintiff United States of America opposes the motion

19   (Dkt. #291). The court has thoroughly considered the parties’ briefing, the relevant

20   record, and the applicable law. Being fully advised,1 the court DENIES Mr.
     Espinoza’s motion for the reasons stated below.
21
                                                II. BACKGROUND
22
             Defendant Jonathan Jose Espinoza was sentenced by this court on August 6,
23
     2010, following his conviction by a jury for conspiracy to distribute cocaine.
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     1
         No party has requested it, and the court finds oral argument to be unnecessary.

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 1       At the time of sentencing the court calculated Defendant’s Total Offense Level
 2   as 31. Because Defendant had a Criminal History Category I, the resulting
 3   Guidelines range was 108 to 135 months. Based on various 18 U.S.C. § 3553(a)
 4   factors, the court varied below this range and imposed a sentence of 87 months’

 5   imprisonment.

 6                                    III. DISCUSSION
         A. Legal Standard
 7
         Amendment 782 to the United States Sentencing Guidelines, which became
 8
     effective November 1, 2014, lowered the penalties for most drug offenses by
 9
     reducing most base offense levels contained in the USSG § 2D1.1 Drug Quantity
10
     Table by two levels, and making other related adjustments to this Guideline. Along
11
     with Amendment 782, the Sentencing Commission adopted Amendment 788, which
12
     decreed that Amendment 782 may be applied retroactively to lower the sentences of
13   previously sentenced inmates. At issue in the instant motion is whether this Court
14   has authority to reduce Defendant’s sentence pursuant to 18 U.S.C. § 3582(c)(2).
15       In order to qualify for a sentence reduction under 18 U.S.C. § 3582(c)(2), two
16   conditions must be met: (1) the Defendant must have been sentenced to a term of
17   imprisonment based on a sentencing range that has been lowered by a retroactively
18   applicable Guidelines amendment; and (2) the sentence reduction sought must be
19   consistent with the Sentencing Commission’s applicable policy statements. United

20   States v. Waters, 771 F.3d 679, 680 (9th Cir. 2014) (per curiam). A district court
     does not have jurisdiction to reduce the Defendant’s sentence unless both criteria are
21
     met. See United States v. Wesson, 583 F.3d 728, 730 (9th Cir. 2009).
22
         B. Defendant’s Motion
23
         Under the retroactively effective amendments to USSG § 2D1.1, Defendant’s
24
     Total Offense Level would now be reduced by two levels to Level 29. This in turn
25
     results in an amended Guideline range of 87 to 108 months. Because the sentence
26
     already imposed (87 months) is already at the low end of the range as calculated

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 1   applying the amended Guidelines (87 months), the Sentencing Commission’s Policy
 2   Statement, USSG § 1B1.10, precludes any reduction in sentence. Dillon v. United
 3   States, 560 U.S. 817, 826 (2010).2 As such, this court lacks jurisdiction to reduce
 4   Defendant’s sentence.

 5

 6                                            IV. CONCLUSION
            For the above reasons, Defendant Jonathan Jose Espinoza’s pro se Motion to
 7
     Reduce Sentence (Dkt. #279) is DENIED.
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            DATED this 8th day of June, 2015.
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11
                                                                    A
                                                                    The Honorable Richard A. Jones
                                                                    United States District Judge
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26      There is nothing in the Presentence Report or the Statement of Reasons to suggest the “substantial
     assistance” exception to this limitation applies to Defendant. See § 1B1.10(b)(2)(B).

         ORDER DENYING MOTION
         FOR REDUCTION OF SENTENCE – 3
